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 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
12
   UNITED STATES OF AMERICA,                   ) No. 3:20-cr-00249-RS
13                                             )
          Plaintiff,                           ) NOTICE OF ADDITIONAL COUNSEL
14                                             )
      v.                                       )
15                                             )
   ROWLAND ANDRADE,                            )
16                                             )
          Defendant.                           )
17                                             )

18
            The United States Attorney’s Office hereby files this Notice of Additional Counsel to advise the
19
     Court that Assistant United States Attorney Christiaan Highsmith will appear in this matter in addition
20
     to AUSA Ross Weingarten. Future ECF notices should be sent to Assistant United States Attorney
21
     Highsmith with the following contact information:
22
                                           AUSA Christiaan Highsmith
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27 \\

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     NOTICE OF SUBSTITUTION OF COUNSEL               1                                             v. 11/1/2018
     3:20-cr-00249-RS

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 1 AUSA Ross Weingarten remains as counsel for the government in this case.

 2

 3 DATED: February 14, 2023                                Respectfully submitted,

 4                                                         STEPHANIE M. HINDS
                                                           United States Attorney
 5

 6
                                                           /s/ Christiaan H. Highsmith__________
 7                                                         CHRISTIAAN H. HIGHSMITH
                                                           Assistant United States Attorney
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     NOTICE OF SUBSTITUTION OF COUNSEL           2                                          v. 11/1/2018
     3:20-cr-00249-RS

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